Case 2:01-CV-02804-.]DB-STA Document 130 Filed 06/21/05 Page 1 of 2 Page|D 150

IN THE UNITED sTATEs DISTRICT cOURT F"£D B`” ~- \- D.C-
FOR THE wEsTERN DISTRICT 0F TENNESSEE 05 JU f
WESTERN DIVISION N 2 l PH 3»' |J
HELEN M. STARNES, §§§§§_T§:E_D§;§§§O§TQ
W.D. O.C m z.¢EMPH¢S
Plaimiff,
v. No. Ol-2804-B

SEARS, ROEBUCK & COMPANY,

JONES LANG LaSALLE AMERICAS, INC.,

d/b/a JONES LANG LaSALLE, INC., VALOR
SECURITY SERVICES, INC., and OTHER
UNKNOWN PARTIES HAVING AN OWNERSHIP
INTEREST and/or RESPONSIBILITY FOR
SECURITY AT SOUTHLAND MALL,

Defendants.

 

AMENDED SCHEDULING ORDER

 

Pursuant to the status conference conducted on May 23, 2005 , the following dates Were
established:

PRETRIAL ORDER: August 25, 2005

PRETRIAL CONFERENCE: September 1, 2005. at 9:00 a.m.

JURY TRIAL: SeDtember 12. 2005, at 9:30 a.m.

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IT IS so 0RDERED this Zl day f June, 2005.

  

 

J. DANIEL BREEN \
UNIT D sTATEs DISTRICT JUDGE

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ThiS notice confirms a copy of the document docketed as number 130 in
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ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

